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                        UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF TEXAS

                                DALLAS DIVISION


ROBERT G. LINENWEBER, Individually and § Civil Action No. 3:20-cv-00408-K
on Behalf of All Others Similarly Situated, §
                                            § CLASS ACTION
                             Plaintiff,     §
                                            §
      vs.                                   §
                                            §
SOUTHWEST AIRLINES CO., et al.,             §
                                            §
                             Defendants.
                                            §
                                            §




       LEAD PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF RECENT
                               AUTHORITY




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         Lead Plaintiffs respectfully submit this brief response to Defendants’ Notice of Recent

Authority filed on March 31, 2021 (ECF No. 41-1).

         Crutchfield v. Match Group, Inc., Case No. 3:19-CV-2356-S, 2021 WL 1167578 (N.D. Tex.

Mar. 26, 2021) (ECF No. 41-2) (“Crutchfield”) is inapposite to the present action. For example, the

FTC’s investigation and lawsuit in Crutchfield are a far cry from the FAA and OIG’s affirmative

findings of regulatory violations here. See Crutchfield, 2021 WL 1167578, at *3; ECF No. 29 (Lead

Plaintiff’s Opposition) at 18-21. Unlike in Crutchfield, here, Defendants were notified of the

violations but instead ignored the corrective actions laid out by the FAA. See ECF No. 29 at 18-21.

Further, in Crutchfield, the court held that “Plaintiffs have not sufficiently alleged that the purported

fraud – stemming from the 15% to 20% of illegitimate users, whether paying or non-paying – was

material enough to place this case in the special circumstances category.” Crutchfield, 2021 WL

1167578, at *22. Here, however, Defendants cannot (and do not) deny safety was critical, and also

that these violations could have jeopardized the lives of over 17.2 million passengers. See ECF No.

29 at 21-3. That a court did not find scienter based on a completely different set of facts does not

impact the scienter analysis in this case.

DATED: April 2, 2021                            KENDALL LAW GROUP, PLLC
                                                JOE KENDALL (Texas Bar No. 11260700)


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 2nd day of April, 2021, a copy of the foregoing was served

electronically and notice of service of this document will be sent to all parties by operation of the

Court’s electronic filing system to CM/ECF participants registered to receive service in this matter.

Parties may access this filing through the Court’s system.

                                                   s/ Joe Kendall
                                                   JOE KENDALL




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